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Easton Stokes

DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

EASTON STOKES

VS.

THE UNITED STATES DEPARTMENT OF
JUSTICE, WILLIAM BARR, individually and as
Attorney General of the United States, THE U.S.
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES (ATF); REGINA
LOMARDO individually and as Acting Director of
ATF; THE FEDERAL BUREAU OF
INVESTIGATION; Christopher Wray individually
and as Director of the Federal Bureau of
Investigation; STATE OF CALIFORNIA, XAVIER
BECERRA, individually and acting as Attorney
General of the State of California, THE SONOMA
COUNTY SHERIFF’S OFFICE, MARK ESSICK,
individually and as Sheriff of Sonoma County,

Defendants.

 

CASE NO.: (4- +613

EXHIBITS 1 THROUGH 3 IN SUPPORT OF COMPLAINT

 
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EXHIBIT 1

 
 

 

 
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EXHIBIT 2

 
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EXHIBIT 3

 
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DECLARATION OF EASTON STOKES

. In the spring of 2002, I was 18 years old. I attended El Molino High School in

Forestville, CA.

. During High School I was on the wrestling team. However, a shoulder injury prevented

me from playing during my senior year.

. In March of 2002 I sought treatment from Kaiser based on the advice of friends and

family. I was experiencing mental changes that worsened after ingesting psilocybin.
After checking in to Kaiser, I recall signing paperwork granting decision-making
power to a family friend, Nancy Barker. I was told that personnel at Kaiser decided
to label me at “5150 in order to transport me to Oakcrest hostpial via ambulance. I
recall staying at Oakcrest hospital for 16 days. I willingly complied with all

treatment recommendations.

. After being discharged from Oakcrest, I returned to High School. I continued to go to

my counseling appointments at Kaiser, which lasted for several months. My doctor

gradually reduced my medications until discontinuing them completely.

. Inthe nearly two decades that have passed, I have not suffered any intervening mental

health issues. I currently work in construction and volunteer as a teen mentor.

. Four years ago, I was diagnosed with stage three colon cancer. I underwent 12 rounds

of chemotherapy, 11 months wearing a colonoscopy bag, and 20 hours of surgery. I

am currently in complete remission.

- In2016, I submitted a Personal Firearms Eligibility Check (PFEC). I was informed that

he was ineligible to either possess or purchase firearms

 
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I declare under penalty of perjury that the foregoing is true and correct, to the best of my
knowledge.

May 5, 2019 /s/ Easton Stokes

 
